      Case 0:21-cv-60825-RAR Document 3 Entered on FLSD Docket 04/19/2021 Page 1 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida


                  United States of America                           )
                                                                     )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No.
                                                                     )                     0:21-cv-60825-RAR
    Roger Stone; Nydia Stone (individually and as                    )
   trustee); Bertran Family Revocable Trust; Drake                   )
    Ventures LLC; Broward County; Russell Harris;                    )
     Galleria Lofts Condo Assn; Galleria Lofts LLC                   )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Roger J. Stone
                                           1045 NE 18th Avenue, No. 101
                                           Fort Lauderdale, Florida 33304




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Chris J. Coulson
                                           Trial Attorney, U.S. Department of Justice, Tax Division
                                           P.O. Box 14198
                                           Ben Franklin Station
                                           Washington, DC 20044
                                           Tel: 202.353.0061; E-mail: Christopher.j.coulson@usdoj.gov

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT

           Apr 19, 2021
Date:
                                                                                         Signature of Clerk or Deputy Clerk
                                                                                                               s/ Janier Arellano
      Case 0:21-cv-60825-RAR Document 3 Entered on FLSD Docket 04/19/2021 Page 2 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida


                  United States of America                           )
                                                                     )
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                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No.
                                                                     )                     0:21-cv-60825-RAR
    Roger Stone; Nydia Stone (individually and as                    )
   trustee); Bertran Family Revocable Trust; Drake                   )
    Ventures LLC; Broward County; Russell Harris;                    )
     Galleria Lofts Condo Assn; Galleria Lofts LLC                   )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Nydia B. Stone, as trustee for Bertran Family Revocable Trust
                                           1045 NE 18th Avenue, No. 101
                                           Fort Lauderdale, Florida 33304




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Chris J. Coulson
                                           Trial Attorney, U.S. Department of Justice, Tax Division
                                           P.O. Box 14198
                                           Ben Franklin Station
                                           Washington, DC 20044
                                           Tel: 202.353.0061; E-mail: Christopher.j.coulson@usdoj.gov

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT

           Apr 19, 2021
Date:
                                                                                         Signature of Clerk or Deputy Clerk
                                                                                                               s/ Janier Arellano
      Case 0:21-cv-60825-RAR Document 3 Entered on FLSD Docket 04/19/2021 Page 3 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida


                  United States of America                           )
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                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No.
                                                                     )                     0:21-cv-60825-RAR
    Roger Stone; Nydia Stone (individually and as                    )
   trustee); Bertran Family Revocable Trust; Drake                   )
    Ventures LLC; Broward County; Russell Harris;                    )
     Galleria Lofts Condo Assn; Galleria Lofts LLC                   )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Bertran Family Revocable Trust
                                           1045 NE 18th Avenue, No. 101
                                           Fort Lauderdale, Florida 33304




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Chris J. Coulson
                                           Trial Attorney, U.S. Department of Justice, Tax Division
                                           P.O. Box 14198
                                           Ben Franklin Station
                                           Washington, DC 20044
                                           Tel: 202.353.0061; E-mail: Christopher.j.coulson@usdoj.gov

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT

           Apr 19, 2021
Date:
                                                                                         Signature of Clerk or Deputy Clerk
                                                                                                               s/ Janier Arellano
      Case 0:21-cv-60825-RAR Document 3 Entered on FLSD Docket 04/19/2021 Page 4 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida


                  United States of America                           )
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                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No.
                                                                     )                     0:21-cv-60825-RAR
    Roger Stone; Nydia Stone (individually and as                    )
   trustee); Bertran Family Revocable Trust; Drake                   )
    Ventures LLC; Broward County; Russell Harris;                    )
     Galleria Lofts Condo Assn; Galleria Lofts LLC                   )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Drake Ventures LLC
                                           1045 NE 18th Avenue, No. 101
                                           Fort Lauderdale, Florida 33304




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Chris J. Coulson
                                           Trial Attorney, U.S. Department of Justice, Tax Division
                                           P.O. Box 14198
                                           Ben Franklin Station
                                           Washington, DC 20044
                                           Tel: 202.353.0061; E-mail: Christopher.j.coulson@usdoj.gov

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT

           Apr 19, 2021
Date:
                                                                                         Signature of Clerk or Deputy Clerk
                                                                                                               s/ Janier Arellano
      Case 0:21-cv-60825-RAR Document 3 Entered on FLSD Docket 04/19/2021 Page 5 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida


                  United States of America                           )
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                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No.
                                                                     )                     0:21-cv-60825-RAR
    Roger Stone; Nydia Stone (individually and as                    )
   trustee); Bertran Family Revocable Trust; Drake                   )
    Ventures LLC; Broward County; Russell Harris;                    )
     Galleria Lofts Condo Assn; Galleria Lofts LLC                   )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Broward County
                                           115 S. Andrews Ave., Suite 423
                                           Fort Lauderdale, FL 33301




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Chris J. Coulson
                                           Trial Attorney, U.S. Department of Justice, Tax Division
                                           P.O. Box 14198
                                           Ben Franklin Station
                                           Washington, DC 20044
                                           Tel: 202.353.0061; E-mail: Christopher.j.coulson@usdoj.gov

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT

           Apr 19, 2021
Date:
                                                                                         Signature of Clerk or Deputy Clerk
                                                                                                               s/ Janier Arellano
      Case 0:21-cv-60825-RAR Document 3 Entered on FLSD Docket 04/19/2021 Page 6 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida


                  United States of America                           )
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                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No.
                                                                     )                     0:21-cv-60825-RAR
    Roger Stone; Nydia Stone (individually and as                    )
   trustee); Bertran Family Revocable Trust; Drake                   )
    Ventures LLC; Broward County; Russell Harris;                    )
     Galleria Lofts Condo Assn; Galleria Lofts LLC                   )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Russell Harris
                                           14430 Western Ave.
                                           Guerneville, CA 95446




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Chris J. Coulson
                                           Trial Attorney, U.S. Department of Justice, Tax Division
                                           P.O. Box 14198
                                           Ben Franklin Station
                                           Washington, DC 20044
                                           Tel: 202.353.0061; E-mail: Christopher.j.coulson@usdoj.gov

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You also must file your answer or motion with the court.



                                                                               CLERK OF COURT

           Apr 19, 2021
Date:
                                                                                         Signature of Clerk or Deputy Clerk
                                                                                                               s/ Janier Arellano
      Case 0:21-cv-60825-RAR Document 3 Entered on FLSD Docket 04/19/2021 Page 7 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida


                  United States of America                           )
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                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No.
                                                                     )                     0:21-cv-60825-RAR
    Roger Stone; Nydia Stone (individually and as                    )
   trustee); Bertran Family Revocable Trust; Drake                   )
    Ventures LLC; Broward County; Russell Harris;                    )
     Galleria Lofts Condo Assn; Galleria Lofts LLC                   )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Galleria Lofts LLC
                                           2385 NW Executive Center Drive, Suite 370
                                           Boca Raton, Florida 33431




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Chris J. Coulson
                                           Trial Attorney, U.S. Department of Justice, Tax Division
                                           P.O. Box 14198
                                           Ben Franklin Station
                                           Washington, DC 20044
                                           Tel: 202.353.0061; E-mail: Christopher.j.coulson@usdoj.gov

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
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                                                                               CLERK OF COURT

           Apr 19, 2021
Date:
                                                                                         Signature of Clerk or Deputy Clerk
                                                                                                               s/ Janier Arellano
      Case 0:21-cv-60825-RAR Document 3 Entered on FLSD Docket 04/19/2021 Page 8 of 8

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       SouthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          Florida


                  United States of America                           )
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                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No.
                                                                     )                     0:21-cv-60825-RAR
    Roger Stone; Nydia Stone (individually and as                    )
   trustee); Bertran Family Revocable Trust; Drake                   )
    Ventures LLC; Broward County; Russell Harris;                    )
     Galleria Lofts Condo Assn; Galleria Lofts LLC                   )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Galleria Lofts Condominium Association, Inc.
                                           1025 NE 18th Avenue
                                           Fort Lauderdale, Florida 33304




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Chris J. Coulson
                                           Trial Attorney, U.S. Department of Justice, Tax Division
                                           P.O. Box 14198
                                           Ben Franklin Station
                                           Washington, DC 20044
                                           Tel: 202.353.0061; E-mail: Christopher.j.coulson@usdoj.gov

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                               CLERK OF COURT

           Apr 19, 2021
Date:
                                                                                         Signature of Clerk or Deputy Clerk
                                                                                                               s/ Janier Arellano
